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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
v.                                           : Case 1:22-cr-00064-RBW
                                             :
LLOYD CASIMIRO CRUZ, JR.                     :
                                             :
Defendant.                                   :


 DEFENDANT’S REPLY TO GOVERNMENT’S OPPOSITION (ECF # 40) TO
DEFENDANT’S MOTION TO DISMISS ON FIRST AMENDMENT GROUNDS
      Defendant Lloyd Casimiro Cruz, Jr, (“Cruz”) by and through counsel,

hereby replies to the government’s Opposition (ECF 40) regarding Cruz’ Motion to

dismiss his charges on First Amendment grounds.

      Defendant’s alleged actions on Jan. 6 are consistent with being a protestor

and a demonstrator; not a rioter or insurrectionist. Cruz allegedly peacefully

entered the U.S. Capitol building along with hundreds of others around 2:11 p.m.

and left ten minutes later. The information and supporting Statement of Facts do

not allege that Cruz faced any restrictions from any guard nor that Cruz breached

any gate or resisted any officer.
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     First Amendment rights to petition and advocate cannot be stricken
merely “due to the attendance of the Vice President and his family (all of
whom were Secret Service “protectees.”)
      The government’s Opposition argues that “Because the U.S. Capitol

building was restricted on January 6 due to the attendance of the Vice President

and his family (all of whom were Secret Service “protectees”), Cruz had no

freedom of petitioning or expression. ECF #40 at 2. But such a proposition cannot

survive muster under the First Amendment. The U.S. Capitol is one of America’s

largest public buildings, with well over 1.5 million square feet, over 600 rooms,

and miles of corridors. 1 Previous case law in other federal jurisdictions has

invalidated government attempts to extend no-advocacy zones beyond a few feet.

      For example, the Supreme Court invalidated attempts to ban protesting

within 300 feet of an abortion clinic. Madsen v. Women's Health Ctr., 512 U.S.

753, 771 (1994) (finding thirty-six-foot buffer was acceptable). “[C]itizens must

tolerate insulting, and even outrageous, speech in order to provide adequate

breathing space to freedoms protected by the First Amendment.” Id. at 774.

      The government’s argument that no one can protest in a building where
a “Secret Service protectee” visits is plainly unconstitutional.




1
  See Architect of the Capitol, “U.S. Capitol Building,”
https://www.aoc.gov/explore-capitol-campus/buildings-grounds/capitol-building
(accessed 9/27/2022).
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      In Blair v. City of Evansville, 361 F. Supp. 2d 846 (S.D.In. 2005), a district

court upheld a lawsuit by a protestor (Blair) who was wrongly arrested for

picketing a speech by Vice President Dick Cheney in 2002. Blair held that “the

restriction of protesters to an area 500 feet away from the only entrance used by

attendees, and on the opposite end of the building from where Vice President

Cheney would enter the facility and from where the majority of people attending

the event would park, burdened speech substantially more than was necessary to

further the [government’s] goals of safety.”

      The 1st amendment requires that the vice president and Congress cannot be

entirely insulated from picketing and advocacy. See, e.g., Kuba v. 1-A Agr. Ass'n,

387 F.3d 850, 861-62 (9th Cir. 2004) (200 and 265 feet security zones found over

broad); Bay Area Peace Navy v. United States, 914 F.2d 1224, 1229 (9th Cir.

1990) (seventy-five yard security zone found over broad because it prevented

demonstration from reaching intended audience); but see Madsen, 512 U.S. at 771

(holding that a thirty-six-foot buffer zone on public property was narrow enough).

Blair, 361 F. Supp. 2d at 858. Judge McKinney found that the location of the

protest zone in Blair “eliminated any meaningful avenue for the communication of

ideas by the protestors to at least one intended audience, the attendees.”

No Act of Congress, and no ruling of any appellate court has ever found that
the Capitol is a No-free-speech zone; so the government cites pretrial rulings
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in other Jan. 6 cases and a 2000 D.C. District Court ruling that upheld the
right of an organized group to do a prayer walk inside the Capitol.
      The government’s opposition states that “judges of this Court have

recognized that the U.S. Capitol qualified as a “restricted building,” citing various

pretrial proceedings stemming from other January 6 cases. Opposition page 3. The

First Amendment literally says “Congress shall make no law” restricting speech,

advocacy, or petitioning. By consultation with any English dictionary, this

freedom must apply to “picketing” and “parading.”

      The government’s only path around this problem is the notion that the mere

presence of the Vice President in the Capitol on Jan. 6 somehow allows for

prosecutions of advocates, protestors or petitioners. (“[T]he U.S. Capitol building

qualified as a “restricted building on January 6 under Section 1752(c)(1)(B) due to

the Vice President’s attendance and participation in the joint congressional

session.” Opposition, page 4.

      But the Supreme Court has never held that the First Amendment can be

evaded simply by a Secret Service proclamation that a protected government

official lurks nearby.
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      The government relies extensively on Judge Friedman's well-articulated

opinion in Bynum v. U.S. Capitol Police Board, 93 F. Supp. 2d 50 (D.D.C. 2000),2

which the government says classified the interior of the Capitol as a nonpublic

forum. In fact, Bynum struck down a previous ban on picketing and parading in

the Capitol as too broad. See id. (holding groups of visitors have 1st amendment

rights to hold nondisruptive prayer sessions in Capitol hallways).

      Judge Friedman himself wrote that his conclusion to categorize the inside of

the Capitol as a ‘nonpublic forum’ was “somewhat surprising.” Id. at 56 (“Which

brings the Court to what may seem a somewhat surprising conclusion that the

inside of the United States Capitol is a nonpublic forum for First Amendment

forum analysis purposes”). And despite the Bynum Court’s pronouncement that

the inside of the Capitol is a nonpublic forum for protesting, the Court held that

some, limited expression, prayer and petitioning is nonetheless permitted inside the

Capitol:

       The Court, however, cannot conclude that the regulation is
       reasonable in light of the purposes it could legitimately serve.
       While the regulation is justified by the need expressed in the statute
       to prevent disruptive conduct in the Capitol, it sweeps too broadly
       by inviting the Capitol Police to restrict behavior that is in no way


2
 Bynam’s dismissal with prejudice was vacated by Bynum v. United States Capitol
Police Bd., 96 F. Supp. 2d 4 (D.D.C. 2000), ordering dismissal without prejudice.
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        disruptive, such as "speechmaking . . . or other expressive conduct.
        . .." Traffic Regulations for the Capitol Grounds § 158. Because the
        regulation's proscriptions are not limited to the legitimate purposes
        set forth in the statute, it is an unreasonable and therefore an
        unconstitutional restriction on speech. See Board of Airport
        Commissioners of the City of Los Angeles v. Jews for Jesus, Inc.,
        482 U.S. 569, 575 (1987) (general prohibition of First Amendment
        activity in airport cannot be justified even if airport is nonpublic
        forum "because no conceivable government interest would justify
        such an absolute prohibition of speech"). For these reasons, and
        those discussed in Section II B of this Opinion, the regulation is
        both unreasonable and unconstitutionally overbroad.


Bynum, at 57.

      Judge Friedman also found that the “picketing and parading” ban violated

due process because it was vague: “While there certainly are types of expressive

acts that rise to the level of a demonstration, any regulation that allows a police

officer the unfettered discretion to restrict behavior merely because it ‘conveys a

message’ or because it has a ‘propensity to attract a crowd of onlookers’ cannot

survive a due process challenge.” Id.



        The regulation as written allows a police officer to restrict any sort
        of expressive conduct when, in the eyes of the particular officer, it
        might attract onlookers -- without regard to whether it in fact
        attracts a crowd of onlookers or whether it in fact disrupts or
        obstructs. The determination of what conduct is prohibited by such
        a regulation therefore necessarily will vary depending on the
        subjective judgment of the particular officer regarding what
        conduct in his or her judgment has a "propensity to attract a crowd
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       of onlookers." Such a regulation does not provide any standard at
       all. Rather, it "confers on the police a virtually unrestrained power
       to arrest and charge persons with a violation" and "the opportunity
       for abuse . . . is self-evident." [citations omitted].
            The virtually standardless, broad discretion given to the
       Capitol Police by this regulation also causes it to be
       unconstitutionally vague.
Bynum, at 58-59.

      CONCLUSION

      Despite the government’s suggestions otherwise, there is no binding case

law upholding the government’s total ban on “picketing and parading” inside the

U.S. Capitol. The total ban violates Cruz’ First Amendment right to speak, protest,

advocate, demonstrate and petition government for redress of grievances in the

Capitol. Never has the Supreme Court held that the government may criminalize

the mere act of picketing (displaying a communication) or parading (walking with

others to express solidarity or represent a message) in a public building designed

for policymaking discussion and debate.

      Even the Bynum decision, supra, which the government says supports a ban

on “picketing and parading” in the Capitol, actually stated that organized prayer

walks may not be prohibited in the Capitol unless such walks disrupt or interfere

with legislative proceedings in the Capitol.
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      ACCORDINGLY, the indictment must be dismissed because it fails to

accuse Cruz of loudly or violently disrupting, harming, or obstructing legislative

proceedings.

      Dated: October 3, 2022                 Respectfully Submitted,


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CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify and attest that on October 3, 2022, I caused this document to be
uploaded and filed in this case, using the electronic filing system established by the
Court. By doing so, I automatically served the document to counsel for the United
States.


                                       /s/ John M. Pierce
                                       John M. Pierce
